Case 23-11777-mdc   Doc 58    Filed 09/19/23 Entered 09/19/23 11:43:19   Desc Main
                             Document      Page 1 of 18
Case 23-11777-mdc   Doc 58    Filed 09/19/23 Entered 09/19/23 11:43:19   Desc Main
                             Document      Page 2 of 18
Case 23-11777-mdc   Doc 58    Filed 09/19/23 Entered 09/19/23 11:43:19   Desc Main
                             Document      Page 3 of 18
Case 23-11777-mdc   Doc 58    Filed 09/19/23 Entered 09/19/23 11:43:19   Desc Main
                             Document      Page 4 of 18
Case 23-11777-mdc   Doc 58    Filed 09/19/23 Entered 09/19/23 11:43:19   Desc Main
                             Document      Page 5 of 18
Case 23-11777-mdc   Doc 58    Filed 09/19/23 Entered 09/19/23 11:43:19   Desc Main
                             Document      Page 6 of 18
Case 23-11777-mdc   Doc 58    Filed 09/19/23 Entered 09/19/23 11:43:19   Desc Main
                             Document      Page 7 of 18
Case 23-11777-mdc   Doc 58    Filed 09/19/23 Entered 09/19/23 11:43:19   Desc Main
                             Document      Page 8 of 18
Case 23-11777-mdc   Doc 58    Filed 09/19/23 Entered 09/19/23 11:43:19   Desc Main
                             Document      Page 9 of 18
Case 23-11777-mdc   Doc 58    Filed 09/19/23 Entered 09/19/23 11:43:19   Desc Main
                             Document     Page 10 of 18




                    ATTACHED BANK STATEMENT
Case 23-11777-mdc   Doc 58    Filed 09/19/23 Entered 09/19/23 11:43:19   Desc Main
                             Document     Page 11 of 18
Case 23-11777-mdc   Doc 58    Filed 09/19/23 Entered 09/19/23 11:43:19   Desc Main
                             Document     Page 12 of 18
Case 23-11777-mdc   Doc 58    Filed 09/19/23 Entered 09/19/23 11:43:19   Desc Main
                             Document     Page 13 of 18
Case 23-11777-mdc   Doc 58    Filed 09/19/23 Entered 09/19/23 11:43:19   Desc Main
                             Document     Page 14 of 18
Case 23-11777-mdc   Doc 58    Filed 09/19/23 Entered 09/19/23 11:43:19   Desc Main
                             Document     Page 15 of 18
Case 23-11777-mdc   Doc 58    Filed 09/19/23 Entered 09/19/23 11:43:19   Desc Main
                             Document     Page 16 of 18
Case 23-11777-mdc   Doc 58    Filed 09/19/23 Entered 09/19/23 11:43:19   Desc Main
                             Document     Page 17 of 18
Case 23-11777-mdc   Doc 58    Filed 09/19/23 Entered 09/19/23 11:43:19   Desc Main
                             Document     Page 18 of 18
